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                         EXHIBIT I
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

     UNITED STATES OF AMERICA,   )
                                 )
               Plaintiff,        )
                                 )
     vs.                         )         CAUSE NO. 1:14-cr-00229-JMS-MJD
                                 )         Indianapolis, Indiana
     AISIN SEIKI CO., LTD. (01), )         Wednesday, February 4, 2015
                                 )         2:07 o'clock p.m.
               Defendant.        )



                                   Before the
                          HONORABLE JANE MAGNUS-STINSON


               TRANSCRIPT OF INITIAL HEARING, CHANGE OF PLEA,
                            AND SENTENCING HEARING


     APPEARANCES:
     FOR THE GOVERNMENT:         U.S. Department of Justice
                                 Antitrust Division
                                 By: Michael N. Loterstein and
                                 Andrew K.M. Rosa
                                 Suite 600, Rookery Building
                                 209 South LaSalle Street
                                 Chicago, Illinois 60604

     FOR THE DEFENDANT:          Cleary Gottlieb Steen & Hamilton LLP
                                 By: Jeremy Calsyn
                                 2000 Pennsylvania Avenue, NW
                                 Washington, D.C. 20006-1801

     ALSO PRESENT:               The Defendant representative,
                                 Masami Nomizo, in person.

     COURT REPORTER:             Jean A. Knepley, RDR, CRR, CCP, FCRR
                                 46 East Ohio Street, Room 309
                                 Indianapolis, Indiana 46204




                    PROCEEDINGS TAKEN BY MACHINE SHORTHAND
                         COMPUTER-AIDED TRANSCRIPTION
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  1 the middle of the page right under U.S.S.G.              You find it?
  2 Okay.
  3         Applying the multiplier to the base fine of 22.7 yields a
  4 guidelines fine range of 36.3 million to 72.6 million prior to
  5 any departures.       Does the Government agree?
  6               MR. LOTERSTEIN:      Yes, Your Honor.
  7               THE COURT:     Does the company agree?
  8               MR. CALSYN:     Yes, Your Honor.
  9               THE COURT:     And then after the various increases and
 10 deductions, the parties have agreed to $35.8 million fine?
 11               MR. CALSYN:     Yes.   That's correct, Your Honor.
 12               MR. LOTERSTEIN:      Yes, Your Honor.
 13               THE COURT:     Mr. Nomizo, the company has the right to
 14 address the Court both through your attorney and through a
 15 personal statement.        Mr. Calsyn?
 16               MR. CALSYN:     Yes.   I believe Mr. Nomizo does have a
 17 short statement that he would like read in English, so I think
 18 we need to put the microphone on him.
 19               THE DEFENDANT:      (In English) Yes, Your Honor, I
 20 would like to say --
 21         THE COURT REPORTER:       I'm sorry, could we clip it in his
 22 tie?     It would be better.
 23         THE DEFENDANT:     (In English) I would like to say some
 24 words in my English.         Aisin accept responsibility for the
 25 conduct at issue.        Aisin was established in 1965, so this year
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  1 will be the 50th anniversary.           In addition, Aisin made the
  2 first plant of the United States here in Indiana almost 30
  3 years ago.      Aisin take its corporate responsibility seriously
  4 and never forget this day here in Indianapolis.               So we are
  5 strongly committed to taking all the steps necessary to comply
  6 with the law not only in USA but globally.
  7         Aisin has cooperated with the department, the Department
  8 of Justice, in the investigation and also has taken steps to
  9 strengthen its commitment to antitrust compliance to ensure
 10 this type of issue does not occur again.              Thank you very much.
 11               THE COURT:     Thank you, sir.
 12         Mr. Calsyn on behalf of the company?
 13               MR. CALSYN:     Yes, Your Honor.      I think I would just
 14 echo the words that Mr. Nomizo just spoke.              The company
 15 certainly takes this event very seriously.              I think it is the
 16 first time the company has heard the word "subpoena" and the
 17 first time they have been in this situation.
 18         As Mr. Nomizo said, the company has taken a lot of steps
 19 already to improve its compliance policies and as he said,
 20 make sure this doesn't happen again.             So we would ask that the
 21 sentence be entered as it provides in the plea as the plea
 22 provides.
 23               THE COURT:     Thank you.
 24         For the Government?
 25               MR. LOTERSTEIN:      Very briefly, Your Honor.         The
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  1               THE COURT:     Seventeen.     In Paragraph A -- I am not
  2 exactly reading this, I am sort of paraphrasing.                Okay.
  3         So first the Court must impose a sentence that is
  4 sufficient but not greater than necessary to comply with the
  5 purposes of the sentencing statute.            The Court must consider
  6 the nature and circumstances of the offense and the history
  7 and characteristics of the Defendant.
  8         The Court finds the conspiracy here was serious, of long
  9 duration, and involving high-level officials of the company.
 10 However, it is the first offense and the Court hopes the last.
 11         The Court finds that the proposed fine is equally serious
 12 and as the Government argued, will promote respect for the law
 13 and provide a just punishment.           It is also significant enough
 14 to deter future criminal conduct.            Also the Court finds that
 15 it is similar to other sentences imposed upon other defendants
 16 for similar crimes.
 17         The only concern the Court had about the proposed
 18 sentence was the issue of restitution, but the Government has
 19 adequately addressed that in its recent filing.               The victims
 20 of the case are sophisticated and capable of pursuing their
 21 own recoveries.       So the Court will accept the plea agreement
 22 of the parties and enter the plea of guilty and judgment of
 23 conviction, and I will now state the proposed sentence.
 24         Pursuant to the Sentencing Reform Act of 1984, it is the
 25 judgment of the Court that the Defendant, Aisin Seiki Company,
